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 8                             UNITED STATES DISTRlCT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   DIAMOND CAVAZOS RlVAS,                           Case No.: 3:16-cv-01276-BEN-JMA
12                                       Plaintiff,
                                                      ORDER GRANTING JOINT
                                                      MOTION TO DISMISS WITH
                                                      PREJUDICE




17            The Court has considered the Joint Motion for Dismissal with Prejudice (the "Joint
18   Motion") filed by Plaintiff Diamond Cavazos Rivas and Defendant Southwest Credit
19   Systems, LP. (Docket No. 10.). For good cause shown, the Joint Motion is GRANTED.
20   The action is DISMISSED WITH PREJUDICE. Each party shall bear its own fees and
21   costs.
22            IT IS SO ORDERED.
23
24   DATED: December        ~016
25                                                        Uriited States District Court Judge
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                                                                              3: 16-cv-O 1276-BEN-JMA
